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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MINNESOTA


 In re:

                                                    Bky. No.: 24-30726
 Shadrea Letrise Foreman,
                                                    Chapter 13
                      Debtor.



                                OBJECTION TO CONFIRMATION


To:       The Debtor, Shadrea Letrise Foreman, through her counsel of record, Matthew M. Tande,
          Prescott Pearson & Tande, PA, PO Box 120088, New Brighton, MN 55112.

          1.     Nationstar Mortgage LLC, a secured creditor of the Debtor, submits this objection

to the confirmation of the Debtor’s proposed chapter 13 plan.

          2.     This objection is filed pursuant to Bankruptcy Rule 3015(f), Local Rules 3015-3,

3020-1, and 3020-3, and Nationstar Mortgage LLC, requests that this court enter an order denying

confirmation of the plan.

          3.     This case was originally filed under chapter 13 of the Bankruptcy Code on March

20, 2024. The case is now pending in this court.

          4.     This court has jurisdiction over this objection pursuant to 28 U.S.C. §§ 1334(a) and

157(a), 11 U.S.C. § 1325, and applicable rules. This matter is a core proceeding.

          5.     Hearing on confirmation of the plan is scheduled for May 9, 2024, at 10:30 a.m.,

before the Honorable Judge Kesha L. Tanabe, in Courtroom 2C 316 North Robert Street, St. Paul,

MN 55101, or as soon thereafter as counsel may be heard.
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       6.     Nationstar Mortgage LLC is a secured creditor pursuant to assignment of that

mortgage, dated October 31, 2017 (the “Mortgage”), encumbering real property located at 1614

Hamel Ln, Shakopee, MN 55379 (the “Property”).

       7.     The Property is the Debtor’s principal residence.

       8.     The Mortgage was perfected by public recordation on November 6, 2017.

       9.     Nationstar Mortgage LLC is owed approximately $3,787.15 in prepetition arrears.

       10.    The plan is not sufficiently funded to cure all of the prepetition arrears owed to

Nationstar Mortgage LLC.

       11.    The plan purports to modify Nationstar Mortgage LLC’s rights under the Mortgage

in contravention of 11 U.S.C. § 1322(b)(2), and thus, does not comport with the provisions of 11

U.S.C. § 1325(a).

       WHEREFORE, Nationstar Mortgage LLC requests that this court deny confirmation of

the Debtor’s chapter 13 plan.

                                            Respectfully submitted,

                                            TROTT LAW, P.C.

Dated: March 29, 2024                  By: s/ Samuel R. Coleman
                                           Samuel R. Coleman (#0389839)
                                           The Academy Professional Building
                                           25 North Dale Street
                                           St. Paul, MN 55102-2227
                                           scoleman@trottlaw.com
                                           Phone: (651) 209-9785




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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MINNESOTA


    In re:

                                                         Bky. No.: 24-30726
    Shadrea Letrise Foreman,
                                                         Chapter 13
                         Debtor.



        MEMORANDUM OF LAW IN SUPPORT OBJECTION TO CONFIRMATION


                                      FACTUAL BACKGROUND

             The Debtor filed her chapter 13 plan on March 20, 2024. The confirmation hearing is

currently scheduled for May 9, 2024. Upon information and belief, the business records of

Nationstar Mortgage LLC demonstrate a prepetition arrearage of approximately $3,787.151. The

Debtor has proposed to pay an estimated $1,297.00 to Nationstar Mortgage LLC through the plan.

The actual arrears are $32,490.15 more than the Debtor’s estimate. The Debtor has allocated

$316.88 to unsecured creditors.

                                              ARGUMENT

                  THE DEBTOR’S PLAN CANNOT BE CONFIRMED AS PROPOSED.

             Section 1322(b)(2) of the Bankruptcy Code provides as follows:

                    (b) Subject to subsections (a) and (c) of this section, the plan may—
                    …

                           (2) modify the rights of holders of secured claims, other than
                           a claim secured only by a security interest in real property
                           that is the debtor’s principal residence...



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  Nationstar Mortgage LLC has not yet filed its formal proof of claim, but intends to do so prior
to the claims bar date.
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See 11 U.S.C. § 1322(b)(2). Further, 11 U.S.C. § 1325(a) provides,

               (a) Except as provided in subsection (b), the court shall confirm a
               plan if—…

                      (1) The plan complies with the provisions of this chapter and
                      with the other applicable provisions of this title; …

                      (3) the plan has been proposed in good faith and not by any
                      means forbidden by law;…

See 11 U.S.C. § 1325(a). Nationstar Mortgage LLC is a secured creditor of the Debtor whose

claim is secured only by the Debtor’s principal residence. The Debtor proposes to cure the

prepetition arrears by paying an estimated amount of $1,297.00 to the bankruptcy trustee. The

actual prepetition arrears, however, are $3,787.15, which is $2,490.15 more than the Debtor’s

estimate. As the Debtor is only able to allocate $316.88 to unsecured creditors, the Debtor will be

unable to pay Nationstar Mortgage LLC’s prepetition claim in full, let alone pay anything to

unsecured creditors. Accordingly, the Debtor has insufficient income to a fund a plan that fully

provides for Nationstar Mortgage LLC’s secured claim.

                                        CONCLUSION

       Based upon the evidence before the court and controlling law, Nationstar Mortgage LLC

requests that the court deny confirmation of the Debtor’s chapter 13 plan.



                                              TROTT LAW, P.C.

Dated: March 29, 2024                    By: s/ Samuel R. Coleman
                                             Samuel R. Coleman (#0389839)
                                             25 Dale Street North
                                             St. Paul, MN 55102
                                             Phone: (651) 209-9785
                                             scoleman@trottlaw.com




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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MINNESOTA


 In re:

                                                    Bky. No.: 24-30726
 Shadrea Letrise Foreman,
                                                    Chapter 13
                    Debtor.



                                 VERIFICATION OF FACTS


I, Samuel R. Coleman, as attorney for Nationstar Mortgage LLC serviced by on its Objection to
Confirmation, declare under penalty of perjury that the foregoing is true and correct according to
the best of my knowledge, information, and belief.



Executed on: March 29, 2024                            s/ Samuel R. Coleman
                                                      Samuel R. Coleman (#0389839)
                                                      The Academy Professional Bldg.
                                                      25 North Dale Street
                                                      St. Paul, MN 55102
                                                      scoleman@trottlaw.com
                                                      Phone: (651) 209-9785
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MINNESOTA


 In re:

                                                 Bky. No.: 24-30726
 Shadrea Letrise Foreman,
                                                 Chapter 13
                    Debtor.



                                    PROOF OF SERVICE


       I, Candace Lepley, with an office address of The Academy Professional Building, 25
North Dale Street, St. Paul, MN 55102-2227 declare that on March 29, 2024, I caused the
following documents:

Objection to Confirmation,
Memorandum of Law in Support,
Verification of Facts,
and Proposed Order,

to be filed electronically with the Clerk of the Bankruptcy Court through ECF, and that ECF will
send an e-notice of the electronic filing to the following:

Gregory A Burrell, Trustee
U.S. Trustee ustpregion12.mn.ecf@usdoj.gov, ecfbkup@comcast.net
Matthew M. Tande, Esq. info@prescottpearson.com


I further declare that I caused a copy of the foregoing documents to be mailed to the following
non-ECF participants by enclosing in an envelope and mailed by First Class Mail with postage
prepaid and depositing same in the post office at St. Paul, Minnesota:
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Shadrea Letrise Foreman
1614 Hamel Lane
Shakopee, MN 55379


I declare, under penalty of perjury, that the foregoing is true and correct.


                                               TROTT LAW, P.C.

Dated: March 29, 2024                     By: s/ Candace Lepley
                                              Candace Lepley
                                              The Academy Professional Building
                                              25 Dale Street North
                                              St. Paul, MN 55102
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MINNESOTA


 In re:

                                                      Bky. No.: 24-30726
 Shadrea Letrise Foreman,
                                                      Chapter 13
                       Debtor.



                                              ORDER


          This matter came before this court for confirmation of the Debtor’s chapter 13 plan of

reorganization. Appearances were noted in the record. Based upon the files, records, and

arguments of counsel,

          IT IS HEREBY ORDERED, that confirmation of the Debtor’s chapter 13 plan is

denied.

DATED:                                                  ______________________________
                                                        Kesha L Tanabe
                                                        United States Bankruptcy Judge




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